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THE STATE BAR OF CALIFORNIA
CERTIFICATE OF STANDING

December 16, 2024

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, ZACHARY CHRISTIAN
FLOOD, #312616 was admitted to the practice of law in this state by the Supreme
Court of California on December 9, 2016 and has been since that date, and is at date
hereof, an ACTIVE licensee of the State Bar of California; and that no
recommendation for discipline for professional or other misconduct has ever been
made by the Board of Trustees or a Disciplinary Board to the Supreme Court of the
State of California.

THE STATE BAR OF CALIFORNIA

Curchna Mbnarantt-Jor0re

Carolina Almarante-Terrero
Custodian of Records
